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    8                         UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
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   11
   12       FARHAD SAFINIA,                          Case No.: CV 17-6902-CBM-RAO
   13             Plaintiff and Counter-Claim
                  Defendant,                         ORDER RE: DEFENDANTS’
   14                                                MOTION FOR SUMMARY
            v.
   15                                                JUDGMENT; AND PLAINTIFF’S
                                                     MOTION FOR PARTIAL
   16       VOLTAGE PICTURES, LLC, et al.,           SUMMARY JUDGMENT ON
   17                                                DEFENDANTS’ LIABILITY FOR
                  Defendants and Counter-Claim
                                                     COPYRIGHT INFRINGEMENT
   18             Plaintiffs.

   19
   20            The matters before the Court are: (1) Defendants Voltage Pictures, LLC,
   21   Voltage Productions, LLC, Christchurch Productions DAC, Nicolas Chartier, and
   22   Definition Films DAC’s (collectively, “Defendants’”) Motion for Summary
   23   Judgment (Dkt. No. 129); and (2) Plaintiff’s Motion for Partial Summary
   24   Judgment on Defendants’ Liability for Copyright Infringement (Dkt. No. 161).1
   25                                  I.     BACKGROUND
   26            This lawsuit arises from Defendants’ alleged infringement of Plaintiff
   27
        1
         The Court’s rulings re: the parties’ evidentiary objections (Dkt. Nos. 134-2, 143-
   28   1, 164-6) are set forth in a separate order.
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    1   Farhad Safinia’s (“Plaintiff’s” or “Safinia’s”) screenplay, The Professor and the
    2   Madman (the “Screenplay”). 2 Plaintiff’s complaint asserts two causes of action
    3   against Defendants: (1) copyright infringement, 17 U.S.C. §§ 106 et seq.; and (2)
    4   defamation (libel) per se, Cal. Civ. Code §§ 45, 45a. (Dkt. No. 1.) On December
    5   7, 2017, the Court dismissed Plaintiff’s defamation claim without prejudice to
    6   refiling in a court with proper jurisdiction upon finding the defamation claim was
    7   not part of the same case or controversy as Plaintiff’s copyright claim because it
    8   does not derive from a common nucleus of operative fact. (Dkt. No. 41.)
    9   Defendants move for summary judgment on Plaintiff’s copyright infringement
   10   claim. Plaintiff moves for partial summary judgment on the issue of Defendants’
   11   liability for copyright infringement.3
   12                              II.    LEGAL STANDARD
   13   A.    Summary Judgment
   14         On a motion for summary judgment, the Court must determine whether,
   15   viewing the evidence in the light most favorable to the nonmoving party, there are
   16   any genuine issues of material fact. Simo v. Union of Needletrades, Indus. &
   17   Textile Employees, 322 F.3d 602, 609-10 (9th Cir. 2003); Fed. R. Civ. P. 56.
   18   Summary judgment against a party is appropriate when the pleadings, depositions,
   19   answers to interrogatories, and admissions on file, together with the affidavits, if
   20   any, show that there is no genuine issue as to any material fact and that the
   21   2
          It is undisputed that: (1) on July 27, 2016, Defendant Voltage’s President Zev
   22   Foreman sent an email to Plaintiff with the subject line: “Script” wherein Foreman
        wrote: “We really need you to condense roles/scenes now. The current cost for
   23   your current script is 50 days. We need it to be 40. So I think it would make sense
        to get started.”; and (2) Plaintiff completed the rewrite/revised version of the script
   24   on September 14, 2016. This 2016 “script” is the Screenplay copyrighted by
        Plaintiff which is basis of Plaintiff’s copyright infringement claim against
   25   Defendants. Prior versions/revisions of scripts re: the Novel are not the subject of
        this lawsuit.
   26   3
          Defendants filed Counterclaims and a Third-Party Complaint (Dkt. No. 42), and
        the Court previously dismissed without prejudice certain counterclaims (Dkt. No.
   27   76). Defendants’ remaining counterclaims for declaratory judgment, breach of
        contract, and intentional interference with prospective economic relation, are not
   28   the subject of the parties’ instant motions.

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    1   moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56. An
    2   issue is “genuine” only if there is a sufficient evidentiary basis on which a
    3   reasonable jury could find for the non-moving party. Anderson v. Liberty Lobby,
    4   Inc., 477 U.S. 242, 248 (1986). A factual dispute is “material” only if it might
    5   affect the outcome of the suit under governing law. Id. The evidence presented
    6   by the parties must be admissible. Fed. R. Civ. P. 56(e). In judging evidence at
    7   the summary judgment stage, the Court does not make credibility determinations
    8   or weigh conflicting evidence. T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors
    9   Ass’n, 809 F.2d 626, 630 (9th Cir. 1987). Rather, “[t]he evidence of the
   10   nonmovant is to be believed, and all justifiable inferences are to be drawn in [the
   11   nonmovant’s] favor.” Anderson, 477 U.S. at 255. But the non-moving party must
   12   come forward with more than “the mere existence of a scintilla of evidence.” Id.
   13   at 252. “Conclusory, speculative testimony in affidavits and moving papers is
   14   insufficient to raise genuine issues of fact and defeat summary judgment.”
   15   Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007) (citations
   16   omitted).
   17   B.    Copyright Infringement
   18         “To establish a successful copyright infringement claim, a plaintiff must
   19   show that he . . . owns the copyright and that defendant[s] copied protected
   20   elements of the work.” Cavalier v. Random House, Inc., 297 F.3d 815, 822 (9th
   21   Cir. 2002). The plaintiff is also “required to show registration as an element of an
   22   infringement claim.” Unicolors, Inc. v. Urban Outfitters, Inc., 853 F.3d 980, 988
   23   (9th Cir. 2017); see also Fourth Estate Pub. Benefit Corp. v. Wall-Street.com,
   24   LLC, --- S.Ct. ----, 2019 WL 1005829, at *3 (U.S. Mar. 4, 2019) (“Registration”
   25   of a copyright “is akin to an administrative exhaustion requirement that the owner
   26   must satisfy before suing to enforce ownership rights.”). “A certificate of
   27   registration from the U.S. Copyright Office raises the presumption of copyright
   28   validity and ownership.” Unicolors, Inc., 853 F.3d at 822. However, “[t]he

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    1   presumptive validity of the certificate may be rebutted and defeated on summary
    2   judgment.” S.O.S., Inc. v. Payday, Inc., 886 F.2d 1081, 1086 (9th Cir. 1989).
    3          “Copyright in a work protected under [the Copyright Act] vests initially in
    4   the author or authors of the work.” 17 U.S.C. § 201(a). However, “[i]n the case
    5   of a work made for hire, the employer or other person for whom the work was
    6   prepared is considered the author . . . , and, unless the parties have expressly
    7   agreed otherwise in a written instrument signed by them, owns all of the rights
    8   comprised in the copyright.” 17 U.S.C. § 201(b). A “work made for hire” is
    9   defined as “(1) a work prepared by an employee within the scope of his or her
   10   employment; or (2) a work specially ordered or commissioned for use ... as a part
   11   of a motion picture or other audiovisual work, ... if the parties expressly agree in a
   12   written instrument signed by them that the work shall be considered a work made
   13   for hire.” 17 U.S.C. § 101. Therefore, in “work made for hire” agreements, “the
   14   employer or other person for whom the work was prepared is considered the
   15   author . . . and . . . owns all the rights in the copyright.” Warren v. Fox Family
   16   Worldwide, Inc., 328 F.3d 1136, 1140 (9th Cir. 2003) (citing 17 U.S.C. 201(b));
   17   see also Mostowfi v. i2 Telecom Int’l, Inc., 269 F. App’x 621, 623 (9th Cir. 2008)
   18   (“The creator of a work made for hire does not have a legal or beneficial interest
   19   in the copyright and therefore does not have standing to sue for infringement.”).
   20                                   III.   DISCUSSION
   21   A.    Preliminary Matters
   22         Plaintiff’s request that the Court deny or defer ruling on Defendants’
   23   Motion based on defense counsel’s failure to disclose facts and evidence
   24   supporting Defendants’ Motion during the conference of counsel pursuant to
   25   Local Rule 7-3 is denied. Local Rule 7-3 does not require the moving party to
   26   disclose all facts and evidence in support of its intended Motion.
   27         Plaintiff’s request that the Court deny or defer ruling on Defendants’
   28   Motion on the ground Defendants failed to meet and confer regarding a joint

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    1   statement of undisputed facts is denied. No summary judgment motion had been
    2   filed by Plaintiff at the time Plaintiff filed his opposition to Defendants’ Motion,
    3   and therefore the parties were not required to file a joint statement of undisputed
    4   facts at that time.
    5   B.     Ownership
    6          Plaintiff provides evidence of a certificate of registration issued on August
    7   4, 2017, for the Screenplay, which raises a rebuttable presumption regarding
    8   Plaintiff’s ownership and the validity of the copyright. See S.O.S., Inc, 886 F.2d
    9   at 1085-86; Unicolors, 853 F.3d at 988.
   10          Defendants, however, submit evidence demonstrating Plaintiff signed a
   11   Certificate of Authorship (“COA”) on January 8, 2007, with Airborne
   12   Productions, Inc. (“Airborne”),4 which states:
   13                 I, Farhad Safinia, hereby certify that I have been engaged by
   14                 Airborne Productions, Inc. (“Company”) to render writing services in
                      connection with the pre-existing script entitled ‘The Professor and the
   15                 Madman’ based on the book of the same name (the “Project”). In
   16                 connection therewith, I hereby represent, warrant and agree that (a)
                      my services are rendered for good and valuable consideration, the
   17                 receipt and sufficiency of which are hereby acknowledged; (b) the
   18                 results and product of all such services, including, without limitation,
                      all writings, notes, ideas, characters, situations, themes and plots I
   19                 contribute in connection with the Project, (collectively, the “Work”)
   20                 are and will be deemed to have been specifically ordered or
                      commissioned by Company for use as part of a motion picture or
   21                 other audio visual work; (c) such results and product are and will be a
   22                 “work made for hire” within the meaning of the United States
                      Copyright Act; and (d) Company shall be deemed to be the author
   23                 thereof and the owner of all rights therein and of all proceeds
   24                 derived therefrom and in connection therewith, with the right to
                      make such changes therein and such uses and disposition thereof,
   25                 in whole or in part, as Company may from time to time determine as
   26
   27   4
          Airborne is not a party in this lawsuit. Airborne is an affiliate of Icon
        Productions, LLC, which held the rights to a 2001 screenplay re: the Novel and
   28   the rights to create the film re: the Novel.

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    1                the author and owner thereof.

    2   (Emphasis added.) The language of the COA makes clear it applies to any
    3   writings by Plaintiff regarding the Film, including the Screenplay registered by
    4   Plaintiff which is the subject of this lawsuit.
    5          Plaintiff argues the COA only covers work “specifically ordered or
    6   commissioned by [the] Company” (i.e., Airborne), and therefore does not cover
    7   the Screenplay which was requested by Defendant Voltage. The express language
    8   of the COA, however, states that “all writings, notes, ideas, characters, situations,
    9   themes and plots [Safinia] contribute[s] in connection with the Project” (defined
   10   as “writing services in connection with the pre-existing script entitled ‘The
   11   Professor and the Madman’ based on the book of the same name”) “are and will
   12   be deemed to have been specifically ordered or commissioned by Company.”
   13   (Emphasis added.) Accordingly, the Court finds the Screenplay is a writing in
   14   connection with the pre-existing script and therefore is deemed to have been
   15   specifically ordered or commissioned by Airborne pursuant to the terms of the
   16   COA.
   17          The fact that there is no COA between the named parties in this lawsuit is
   18   irrelevant to determining whether Plaintiff’s Screenplay is a work for hire which
   19   Plaintiff does not own based on the COA between Plaintiff and Airborne. The
   20   COA provides that the “Company [i.e., Airborne] shall be deemed to be the author
   21   thereof and the owner of all rights therein” of the “writings, notes, ideas,
   22   characters, situations, themes and plots [Safinia] contribute[s] in connection with
   23   the Project.” Accordingly, even if there is no COA between Plaintiff and
   24   Defendants, Plaintiff does not have ownership rights in the Screenplay based on
   25   the COA between Airborne and Plaintiff. See 17 U.S.C. § 201(b) (“In the case of
   26   a work made for hire, the employer or other person for whom the work was
   27   prepared is considered the author for purposes of this title, and, unless the parties
   28   have expressly agreed otherwise in a written instrument signed by them, owns all

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    1   of the rights comprised in the copyright.”).
    2         Notwithstanding the above, Defendants offer a Quitclaim Agreement dated
    3   August 21, 2016, signed by Airborne and Definition Films DAC, as evidence,
    4   which provides:
    5                WHEREAS, on or about January 78, 2007, Airborne engaged Farhad
    6                Safinia (“Safinia”) to perform writing services in connection with a
                     motion picture project entitled “The Professor And The Madman”
    7
                     (the “Picture”), and Safinia executed a Certificate of Authorship
    8                certifying he was engaged by Airborne “to render writing services in
                     connection with the pre-existing script entitled ‘The Professor and the
    9
                     Madman’ based on a book of the same name” on a work for hire
   10                basis; . . . the parties hereto acknowledge and agree as follows: . . .
   11                Assignor [Airborne] hereby quitclaims and assigns unto Assignee
   12                [Definition Films DAC] all of Assignor’s right, title and interest in
                     and to Picture, including but not limited to . . . All literary material
   13                relating to the Picture including without limitation the “Literary
   14                Material” set forth in Exhibit “A” hereto, and all copyrights in
                     connection therewith, and all tangible and intangible properties
   15                respecting the Picture (collectively, the “Literary Property”); and . . .
   16                All contracts, agreements, assignments and instruments of every kind
                     and character under which Assignor has heretofore acquired any
   17                right, title or interest in or to the Picture, including without limitation,
   18                all documents enumerated in Exhibit “A” hereto (the “Underlying
                     Documents”).
   19
   20   Exhibit A to the Quitclaim Agreement defines: (1) “Literary Material” as “[a]ll
   21   rights in and to the book entitled ‘The Professor and the Madman’ written by
   22   Simon Winchester (‘Winchester’), and all rights in and to all drafts and versions
   23   of the screenplay currently entitled ‘The Professor And The Madman’ written by
   24   Farhad Safinia (‘Safinia’) and/or any other writer (Based on the foregoing book)
   25   (collectively, the ‘Literary Material’)” (emphasis added); and (2) “Underlying
   26   Documents” as “Certificate of Authorship dated January 8, 2007, between
   27   Airborne Productions, Inc. (“Airborne”) and Safinia wherein Safinia certifies that
   28   he was engaged by Airborne “to render writing services in connection with the

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    1   pre-existing script entitled ‘The Professor and the Madman’ based on a book of
    2   the same name” on a work for hire basis.”5 Therefore, Airborne’s ownership
    3   rights to the Screenplay were transferred to Defendant Voltage under the
    4   Quitclaim Agreement. See 17 U.S.C. § 201(d).
    5         Plaintiff argues the COA only applies to a single rewrite by Plaintiff in 2007
    6   and that Plaintiff and Airborne “contemplated” and “understood” that the COA
    7   would not cover any of Plaintiff’s future work after 2007 such as the Screenplay
    8   which was completed in 2016. Plaintiff declares:
    9                I began revising the 2001 screenplay after signing the COA. I spent
   10                months on the revisions and created several drafts along the way, but
                     I finished my revisions by the time I left Icon 6 in 2009. Therefore, at
   11
                     that time, I understood that my engagement under the COA had
   12                terminated, that Airborne Productions, Inc. (“Airborne”) owned the
                     rights to the revisions I performed up to that time, and that the COA
   13
                     would not apply to anything I created in the future.
   14
   15   (Plaintiff’s Decl. ¶ 3.) In addition, Vicki Christianson, the President of Airborne,
   16   declares: “On or about January 8, 2007, Farhad Safinia was engaged to revise the
   17   2001 screenplay” for which Icon held the rights to create the Film, “[w]hen
   18   Airborne requested Mr. Safinia revise the 2001 screenplay and signed the COA
   19   with him, Airborne contemplated the COA would apply only to Mr. Safinia’s
   20   5
          Defendants also submit a copy of a Short Form Assignment & Quitclaim signed
   21   by Airborne dated August 21, 2016, which provides:
               The undersigned, AIRBORNE PRODUCTIONS, INC., (together,
   22          “Assignor”), do hereby assign and quitclaim unto DEFINITION FILMS,
               DAC (“Assignee”) all of Assignor’s right, title and interest in and to the
   23          book entitled “The Professor and the Madman” written by Simon
               Winchester, and all of Assignor’s rights in and to the screenplay currently
   24          entitled “The Professor And The Madman” written by Farhad Safinia,
               and/or any other writer, and all drafts, versions, synapses, treatments,
   25          scenarios, screenplays, and all copyrights in connection herewith. This
               Short Form Quitclaim is subject to all the terms, conditions, representations,
   26          and warranties of the Quitclaim Agreement between Assignor and Assignee
               dated August 21, 2016.
   27
        (Emphasis added.)
   28   6
          Icon is an affiliate of Airborne, and is not a named party in this action.

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    1   2007 revision. Airborne did not contemplate the COA would cover any additional
    2   work performed by Mr. Safinia beyond his 2007 revision,” at the time Mr. Safinia
    3   left Icon in 2009, he had completed his 2007 revision under the COA, and “[a]t
    4   the time, Airborne Understood that Mr. Safinia’s engagement under the COA had
    5   terminated, that Airborne owned the revised screenplay and any drafted created by
    6   Mr. Safinia up to that time, and that any future work by Mr. Safinia would not be
    7   covered by the COA.” (Christianson Decl. ¶ 3.)
    8         The express language of the COA, however, does not limit its application to
    9   only a single rewrite in 2007, nor provide that the COA would not apply to future
   10   writings by Plaintiff after 2007. Therefore, the COA is not “reasonably
   11   susceptible” to the interpretation proffered by Plaintiff. See Cal. Civ. Code § 1638
   12   (“The language of a contract is to govern its interpretation, if the language is clear
   13   and explicit, and does not involve an absurdity.”); 7 Parsons v. Bristol Dev. Co., 62
   14   Cal. 2d 861, 865 (1965) (“Extrinsic evidence is admissible to interpret the
   15   instrument, but not to give it a meaning to which it is not reasonably
   16   susceptible.”).
   17         Moreover, the declarations submitted by Plaintiff regarding Airborne and
   18   Plaintiff’s undisclosed subjective intent does not change the objective intent set
   19   forth in the language of the COA. See Cal. Civ. Code § 1639 (“When a contract is
   20   reduced to writing, the intention of the parties is to be ascertained from the writing
   21   alone, if possible.”).8 Plaintiff fails to submit evidence demonstrating Airborne or
   22   Plaintiff’s subjective intent was communicated before the COA was signed. 9
   23   7
          The parties reply on California law in interpreting the COA.
   24   8
          See also Foster-Gardner, Inc. v. Nat’l Union Fire Ins. Co., 18 Cal. 4th 857, 868
        (1998) (“intent is to be inferred, if possible, solely from the written provisions of
   25   the contract”); see also Okada v. Whitehead, 2016 WL 9448482, at *7 (C.D. Cal.
        Nov. 4, 2016), aff’d, 2019 WL 92486 (9th Cir. Jan. 3, 2019) (citing Titan Grp.,
   26   Inc. v. Sonoma Valley Cty. Sanitation Dist., 211 Cal. Rptr. 62, 65 (Cal. Ct. App.
        1985)); Ben-Zvi v. Edmar Co., 47 Cal. Rptr. 2d 12, 14 (Cal. Ct. App. 1995).
   27   9
          Plaintiff testified at his deposition that he could not recall if he asked any
   28   questions about the COA before he signed it, he does not remember exactly what
        Christianson said to him about the COA when he was asked to sign it, and he
                                                  9
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  1   Therefore, Airborne and Plaintiff’s subjective intent is irrelevant to interpreting
  2   the express language of the COA. 10
  3         Plaintiff also submits evidence regarding Plaintiff’s and Defendants’ “pre-
  4   dispute conduct,” and argues such evidence shows Defendants knew and believed
  5   the COA did not cover Plaintiff’s Screenplay. However, none of the named
  6   defendants are a party to the COA, and therefore evidence regarding Defendants’
  7   conduct is irrelevant to determining the contracting parties’ objective intent at the
  8   time the COA was executed. Cf. People v. Shelton, 37 Cal. 4th 759, 767 (2006)
  9   (“The mutual intention to which the courts give effect is determined by objective
 10   manifestations of the parties’ intent, including . . . the subsequent conduct of the
 11   parties.”) (emphasis added).
 12         Accordingly, the undisputed evidence demonstrates Plaintiff does not own
 13   rights in the Screenplay. Plaintiff therefore lacks standing for his copyright
 14   infringement claim against Defendants. See 17 U.S.C. § 501(b); Silvers v. Sony
 15   Pictures Entm’t, Inc., 402 F.3d 881, 883 (9th Cir. 2005); Baker v. FirstCom
 16   Music, 2018 WL 3583237, at *23 (C.D. Cal. Mar. 15, 2018), modified, 2018 WL
 17   3617884 (C.D. Cal. Apr. 6, 2018).
 18   ///
 19   ///
 20   ///
 21   ///
 22
      cannot recall if there was anyone else he might have spoken to about the COA.
 23   (Plaintiff Depo. 54:10-16, 295:10-296:24.) Christianson testified at her deposition
      that she did not recall having any conversation with Plaintiff before they signed
 24   the COA. (Christianson Depo. 56-58.)
      10
         The Court sustained Defendants’ objections to Plaintiff’s and Christianson’s
 25   declarations regarding their subjective intent re: the COA as irrelevant. (See
      supra.) See Founding Members of the Newport Beach Country Club v. Newport
 26   Beach Country Club, Inc., 135 Cal. Rptr. 2d 505, 514 (Cal. Ct. App. 2003) (“The
      parties’ undisclosed intent or understanding is irrelevant to contract
 27   interpretation.”); Winet v. Price, 6 Cal. Rptr. 2d 554 (Cal. Ct. App. 1992) (“[T]he
      undisclosed subjective intent of the parties is irrelevant to determining the
 28   meaning of contractual language.”).

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  1                               IV.   CONCLUSION
  2         Accordingly, the Court GRANTS Defendants’ Motion for Summary
  3   Judgment on Plaintiff’s copyright infringement claim; and DENIES Plaintiff’s
  4   Motion for Partial Summary Judgment on Defendants’ Liability for Copyright
  5   Infringement.
  6
  7         IT IS SO ORDERED.
  8
  9   DATED: March 20, 2019.
                                          CONSUELO B. MARSHALL
 10                                       UNITED STATES DISTRICT JUDGE
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